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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                     BEAUMONT DIVISION

PAUL THOMAS SHAW                                  §

VS.                                               §      CIVIL ACTION NO. 1:21-cv-5

ANN PICKLE, ET AL.                                §

                 MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                    JUDGE’S REPORT AND RECOMMENDATION

       Plaintiff Paul Thomas Shaw, a prisoner confined at the Jefferson County Jail, proceeding pro

se, filed this civil rights action pursuant to 42 U.S.C. § 1983.

       The court referred this matter to the Honorable Christine L. Stetson, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The magistrate judge has submitted a Report and Recommendation of United States Magistrate

Judge. The magistrate judge recommends dismissing the action without prejudice pursuant to

Federal Rule of Civil Procedure 41(b) because Plaintiff failed to provide the court with his proper

address or stay in contact with the court.

       The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and the pleadings. Proper notice

was given to the plaintiff at his last known address. See FED. R. CIV. P. 5(b)(2)(C). No objections

to the Report and Recommendation of United States Magistrate Judge were filed by the parties.
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                                             ORDER

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct,

and the report of the magistrate judge (Doc. #6) is ADOPTED. A final judgment will be entered

in this case in accordance with the magistrate judge’s recommendation.

       SIGNED this the 27 day of October, 2021.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge




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